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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.                                    Criminal No. 19-cr-18-ABJ

 ROGER J. STONE, JR.,
                                                     UNDER SEAL
                                  Defendant.


        GOVERNMENT’S MOTION FOR LEAVE TO FILE SEALED EXHIBITS

       The United States of America hereby submits this motion for leave to file under seal three

exhibits to its Notice of Statements by the Defendant, filed on March 4, 2019. See Dkt. No. 54.

In support of this motion, the government states the following:

       On February 21, 2019, the Court issued an Order restricting extrajudicial statements by the

defendant. Following that order, on March 1, 2019, the defendant filed a Motion to Clarify the

Court’s Order as it related to certain statements he made in a book that he distributed to publishers

in late January 2019. See Dkt. No. 51 at p. 1. The defendant’s motion sought clarification from

the Court regarding whether an updated Introduction to his book contravened the Court’s Order

restricting his extrajudicial statements.

       On March 4, 2019, the government filed a Notice of Statements by the Defendant,

informing the Court that: (1) the defendant’s book, including his updated Introduction, is currently

available online at Amazon.com and Google Books; and (2) the defendant is reported to have made

an extrajudicial statement on Instagram since the February 21 hearing. Dkt. No. 54. The

government also included as Exhibits A through C to its notice the contents of the Introduction

found on Amazon.com and Google Books, and a copy of the Instagram post.
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       “[T]he decision as to access (to judicial records) is one best left to the sound discretion of

the trial court, a discretion to be exercised in light of the relevant facts and circumstances of the

particular case. United States v. Hubbard, 650 F.2d 293, 316-17 (D.C. Cir. 1980) (quoting Nixon

v. Warner Commc’ns, Inc., 435 U.S. 589, 599 (1978)). As the Court noted when issuing the

February 21 Order, the defendant’s extrajudicial statements pose a risk of prejudicing a jury pool

in this case. See Tr. at 48-49. The public filing of the defendant’s continued extrajudicial

statements regarding this case would amplify that concern. Further, this interest outweighs the

public’s right of access to those exhibits, especially since the information contained in the exhibits

is publicly available on the Internet.

       Accordingly, the government respectfully requests that the Court order that this motion,

and Exhibits A through C to its notice of statements by the defendant, be filed under seal.

                                         Respectfully submitted,

ROBERT S. MUELLER III                                  JESSIE K. LIU
Special Counsel                                        U.S. Attorney for the District of Columbia

By: /s/                                            By: /s/
Jeannie S. Rhee                                        Jonathan Kravis
Aaron S.J. Zelinsky                                    Michael J. Marando
U.S. Department of Justice                             Assistant United States Attorneys
Special Counsel’s Office                               555 4th Street NW
950 Pennsylvania Avenue NW                             Washington, D.C. 20530
Washington, D.C. 20530

Dated: March 4, 2019




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 4, 2019 a copy of the foregoing Government’s Motion,
Exhibits A-C referenced therein, and a proposed Order was sent via electronic mail to Grant Smith,
Robert Buschel, and Bruce Rogow, counsel for the defendant.

                                                           /s/ Michael J. Marando
                                                    Michael J. Marando
                                                    Assistant United States Attorney




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